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                      UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
     v.                                     ) CRIMINAL NO. 23-4293-DHH
                                            )
JACK DOUGLAS TEIXEIRA                       )

                   DEFENDANT JACK DOUGLAS TEIXEIRA’S
                          DETENTION HEARING




                                    Exhibit 2

  Department of the Air Force Guidance Memorandum to Department of the Air Force
                    Instruction DAFI 90-5001, Integrated Resilience
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                                DEPARTMENT OF THE AIR FORCE
                                       WASHINGTON DC 20330-1000




OFFICE OF THE ASSISTANT SECRETARY

                                                                         DAFI90-5001_DAFGM2022-01
                                                                         4 August 2022

  MEMORANDUM FOR DISTRIBUTION C
                 MAJCOMs/FLDCOMs/FOAs/DRUs

  SUBJECT: Department of the Air Force Guidance Memorandum to Department of the Air Force Instruction
  DAFI 90-5001, Integrated Resilience

          By Order of the Secretary of the Air Force, this Department of the Air Force Guidance Memorandum
  immediately redesignates this publication as Department of the Air Force Instruction (DAFI) 90-5001,
  Integrated Resilience, and implements changes to this DAFI. Compliance with this memorandum is
  mandatory. To the extent its directions are inconsistent with other Department of the Air Force (DAF)
  publications, the information herein prevails in accordance with DAFI 90-160, Publications and Forms
  Management.

          This AFGM revises DAFI 90-5001 by updating the definitions for suicide attempt and suicidal
  ideation, as directed by the Under Secretary of Defense, adopting the definitions included in Department of
  Defense Instruction 6490.16, “Defense Suicide Prevention Program, Change 2,” published September 11,
  2020. This AFGM and the underlying publication apply to DAF civilian employees and uniformed members
  of the Regular Air Force, the United States Space Force, as well as the Air National Guard and Air Force
  Reserve, as appropriate. Note that all references within the underlying publication to United States Air
  Force-specific terminology should be interpreted to apply to the Department of the Air Force, including the
  United States Space Force, as appropriate.

          Refer recommended changes and questions about this publication to the Office of Primary
  Responsibility (OPR) using the DAF Form 847, Recommendation for Change of Publication; route DAF
  Forms 847 from the field through appropriate functional chain of command. The OPR for this publication is
  the Integrated Resilience Office, AF/A1Z, 1410 Air Force Pentagon, Washington, D.C. 20330-1410.

           This guidance memorandum becomes void after one year has elapsed from the date of this
  memorandum, upon incorporation by interim change to, or upon rewrite of Department of the Air Force
  Instruction 90-5001, whichever is earlier.



                                                         JOHN A. FEDRIGO
                                                         Principal Deputy Assistant Secretary


  Attachment:
  Guidance Memorandum
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                                     ATTACHMENT
                                  Guidance Memorandum

The below changes to DAFI 90-5001, dated 25 January 2019, Incorporating Change 1, 20
October 2021, are effective immediately.

SUMMARY OF REVISIONS:

*(REPLACE) Suicide Attempt – A nonfatal, self-directed, potentially injurious behavior with
an intent to die as a result of the behavior.

*(ADDED) Suicidal Ideation – Thinking about, considering, or planning suicide.
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BY ORDER OF THE                                          AIR FORCE INSTRUCTION 90-5001
SECRETARY OF THE AIR FORCE
                                                                           25 JANUARY 2019
                                                       Incorporating Change 1, 21 October 2021

                                                                            Special Management

                                                                  INTEGRATED RESILIENCE




             COMPLIANCE WITH THIS PUBLICATION IS MANDATORY

ACCESSIBILITY: Publications and forms are available for downloading or ordering on the e-
               Publishing web site at www.e-Publishing.af.mil.
RELEASABILITY: There are no releasability restrictions on this publication.


OPR: AF/A1Z                                                               Certified by: AF/A1Z
                                                                   (Brig Gen Michael E. Martin)
Supersedes: AFI90-501, 14 August 2014;                                                Pages: 48
AFI90-505, 8 June 2018; and AFI90-506, 2
April 2014



This publication implements Air Force Policy Directive 90-50, Integrated Resilience and is
consistent with Department of Defense Instruction (DoDI) 1342.22, Military Family Readiness;
DoDI 6400.09, DoD Policy on Integrated Primary Prevention of Self-Directed Harm and
Prohibited Abuse or Harm; DoDI 6490.16, Defense Suicide Prevention Program; augments the
Chairman of the Joint Chiefs of Staff Instruction 3405.01, Chairman’s Total Force Fitness
Framework; and formalizes personal resilience and risk management efforts as recommended in
the Air Force Follow-On Review 100930-060, Protecting the Force: Lessons From Fort Hood.
This publication applies to all levels of command of U.S. Space Force and all Air Force
organizations and components including Regular Air Force, Air Force government civilian
personnel, and United States Air Force Academy. Air National Guard and Air Force Reserve will
comply to the extent they are capable of providing the required services. Joint Base environments
should be included whenever possible. All references to Airmen also apply to Guardians. This
publication requires the collection and/or maintenance of information protected by the Privacy Act
of 1974. The authorities to collect and/or maintain the records prescribed in this publication are
Title 10 United States Code 136, Under Secretary of Defense for Personnel and Readiness, and
Title 10 United States Code 9013, Secretary of the Air Force. The applicable Privacy Act SORN
for collection of information on military personnel suicide or self-directed violence is EDHA 20
DoD, Department of Defense Suicide Event Report (DoDSER) System. In addition to those
disclosures generally permitted under Title 5 United States Code Section 552a (b) of the Privacy
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Act of 1974, these records, or information contained therein, may specifically be disclosed outside
the Department of Defense (DoD) as a routine use pursuant to Title 5 United States Code Section
552a (b) (3) as follows: Statistical summary data with no personally identifiable information may
be provided to federal, state, and local governments for health surveillance and research. Ensure
all records generated as a result of processes prescribed in this publication adhere to Air Force
Instruction 33-322, Records Management and Information Governance Program, and are disposed
in accordance with the Air Force Records Disposition Schedule, which is located in the Air Force
Records Information Management System. Refer recommended changes and questions about this
publication to the Office of Primary Responsibility using the Air Force Form 847,
Recommendation for Change of Publication; route Air Force Form 847 from the field through the
appropriate functional chain of command. This publication may be supplemented at any level, but
all supplements must be routed to the Office of Primary Responsibility for coordination prior to
certification and approval. The authorities to waive wing/unit level requirements in this publication
are identified with a Tier (“T-0, T-1, T-2, T-3”) number following the compliance statement. See
Department of the Air Force Instruction 33-360, Publications and Forms Management, for a
description of the authorities associated with the Tier numbers. Submit requests for waivers
through the chain of command to the appropriate Tier waiver approval authority, or alternately, to
the Publication Office of Primary Responsibility (OPR) for non-tiered compliance items.

SUMMARY OF CHANGES

This interim change revises AFI 90-5001 by adding Integrated Prevention policies per DoD Policy
on Integrated Primary Prevention of Self-Directed harm and Prohibited Abuse, 11 September
2020 and updating the OPR status for operations and training per MOU between A1Z and
AFPC/DPFZ. A margin bar (|) indicates newly revised material.

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Table 1.1. Comprehensive Airman Fitness Domains and Tenets

     Fitness Domain                                    Domain Tenets
          Mental             Awareness – Adaptability – Decision Making – Positive Thinking
         Physical            Endurance – Recovery – Nutrition – Strength
           Social            Communication – Connectedness – Social Support – Teamwork
         Spiritual           Core Values – Perseverance – Perspective – Purpose
1.4. Resilience Program. The Resilience Program equips Airmen with the knowledge, skills,
and tools required to continually assess and adjust to their environment. It empowers Airmen to
maintain the necessary balance of cognitive skills, physical endurance, emotional stamina, social
connectedness, and spiritual well-being to thrive and carry out the Air Force mission. The
Resilience Program is led by MAJCOM CSPMs and installation CSCs. Note: At Reserve
Command host installations and for Air National Guard (ANG), resilience programs are led by a
member selected by the Wing Commander as an additional duty.
1.5. Violence Prevention Program. The Violence Prevention Program focuses on non-clinical
prevention of interpersonal and self-directed violence—stopping it before it occurs. It
collaboratively identifies, implements, and assesses public health-informed and evidence-based
prevention policies, practices, programs, and processes to eliminate interpersonal and self-directed
violence. This involves an integrated, multiagency, and collaborative approach with other Air
Force programs (e.g., Suicide Prevention Program, Sexual Assault Prevention and Response
Program, Family Advocacy Program, Equal Opportunity, Diversity and Inclusion and other
programs as appropriate) on prevention efforts. Ultimately, these efforts contribute to the well-
being of Airmen, their performance, and a ready Total Force. The Violence Prevention Program
is led by MAJCOM Violence Prevention Program Managers (VPPM) (if available) and installation
Violence Prevention Integrator (VPI). Refer to Attachment 1 for definitions and distinctions
between prevention, intervention, and treatment. Interpersonal and self-directed violence includes
sexual assault, dating violence, family violence, workplace violence, and suicide. Refer to
Attachment 1 for definitions of the forms of interpersonal and self-directed violence.
1.6. Community Action Board (CAB) and Community Action Team (CAT). CABs and
CATs are senior leader driven forums to identify and resolve quality of life issues impacting Total
Force readiness. These forums incorporate and reinforce the CAF framework. They promote
collaboration among helping agencies to reduce redundancies, identify gaps in service, and
develop and implement local solutions to support the Total Force. Refer to Chapter 4 for
additional guidance.
1.7. Applicability and Scope. This publication supersedes all regulatory and policy guidance
within the Air Force that is not expressly mandated by law or inconsistent with this publication.
MAJCOM, Direct Reporting Unit, Field Operating Agency, installation, or Wing supplements
must be provided to and approved by AF/A1Z. (T-1).
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                                            Chapter 2

                              ROLES AND RESPONSIBILITIES

2.1. Headquarters Air Force
    2.1.1. Assistant Secretary of the Air Force, Manpower and Reserve Affairs
    (SAF/MR) provides strategic, long-range, personnel and manpower oversight for policies that
    impact the health and well-being of Regular Air Force, Reserve, Air National Guard, and
    civilian members to include families. SAF/MR advocates for DoD policy and legislative
    changes through the Office of Secretary of Defense to promote and sustain the Comprehensive
    Airman Fitness (CAF) framework.
    2.1.2. General Counsel (SAF/GC) establishes legal policy and provides legal oversight and
    guidance for all aspects of programs and activities that support resilience and violence
    prevention.
    2.1.3. Inspector General (SAF/IG) provides administrative guidance and oversight to the
    Air Force Office of Special Investigations (AFOSI) in accordance with Headquarters Air Force
    Mission Directive 1-20, The Inspector General.
    2.1.4. Director of Public Affairs (SAF/PA) provides official guidance and support on
    matters related to the Resilience and Violence Prevention Programs, and the Community
    Action Boards (CAB) and Community Action Teams (CAT) in accordance with Headquarters
    Air Force Mission Directive 1-28, Director of Public Affairs.
    2.1.5. Vice Chief of Staff of the Air Force (AF/CV) establishes and chairs the Air Force
    Community Action Board (CAB), sets CAB membership policy at all levels, and resources
    requirements. AF/CV directs new initiatives through the Air Force CAB to respond to
    emerging resilience and violence prevention trends and findings.
    2.1.6. Deputy Chief of Staff, Manpower, Personnel and Services (AF/A1) provides
    guidance and oversight for all matters pertaining to the formulation, review, and execution of
    plans, policies, programs, personnel, and budgets addressing resilience, violence prevention,
    and CABs/CATs. AF/A1 provides functional oversight, guidance, and policy for the
    Deployment Transition Center processes. Note: Deployment Transition Centers augment
    existing Air Force redeployment and post-deployment programs by providing critical
    reintegration and decompression time to meet the needs of Airmen regularly exposed to
    significant risk of death in direct combat or regularly exposed to traumatic events. Deployment
    Transition Centers are not a Mental Health Treatment Center and will not be used to duplicate
    existing programs.
    2.1.7. Director, Integrated Resilience (AF/A1Z) oversees and implements the Air Force’s
    Resilience Program, Violence Prevention Program, and CAB/CAT. This includes
    incorporating and reinforcing the Prevention and CAF frameworks as appropriate.
       2.1.7.1. Resource programs and activities that support resilience and violence prevention
       under its purview. This includes reporting on program accomplishments and outcomes.
       2.1.7.2. Provide standardized policies, practices, and programs and activities that support
       resilience and violence prevention and for the role of Community Support Program
       Manager (CSPM), Community Support Coordinator (CSC), Violence Prevention Program
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     Manager (VPPM), and Violence Prevention Integrator (VPI). This also includes any other
     personnel or functions identified to assist in the implementation of programs and activities
     that support resilience and violence prevention in accordance with this publication.
     2.1.7.3. Represent the Air Force on Department of Defense (DoD) and Sister Service
     working groups (e.g., Integrated Product Teams) related to resilience and violence
     prevention when requested.
     2.1.7.4. Develop and implement evidence-based programs and activities that support
     resilience and violence prevention policies, plans, programs, research, assessments, and
     communication. This includes incorporating and reinforcing strength-based approaches
     and the CAF framework.
     2.1.7.5. Develop education, training, and awareness materials for the Total Force that
     support resilience and violence prevention.
     2.1.7.6. Provide Airmen with skills, tools, and resources with fidelity to meet their needs
     at the right time that support resilience and violence prevention.
     2.1.7.7. Encourage early help-seeking behaviors with Airmen and reduce and eliminate
     stigma.
     2.1.7.8. Reduce risk factors and promote protective factors to prevent multiple forms of
     interpersonal and self-directed violence. This includes encouraging healthy and adaptive
     behaviors.
     2.1.7.9. Ensure programs and activities that support resilience and violence prevention are
     coordinated with and integrated through CABs/CATs.
     2.1.7.10. Engage government, academia, and industry to advance evidence-based
     programs and activities that support resilience and violence prevention.
     2.1.7.11. Develop and/or approve required training for CSPMs/CSCs, VPPMs/VPIs, and
     other personnel (where appropriate) in the implementation of this publication.
     2.1.7.12. Develop and standardize metrics and methods (e.g. tools and instruments) to
     measure the effectiveness of programs and activities that support resilience and violence
     prevention.
     2.1.7.13. Ensure aggregate violence prevention data elements (may include, protective and
     risk factors, sexual assault, intimate partner violence, child maltreatment, harassment and
     suicide) required for identifying and understanding trends are made available to
     VPPMs/VPIs. Note: Data collected will not be used to determine prevalence estimates in
     accordance with DoDI 6400.09. (T-0).
     2.1.7.14. Provide policy and guidance on funding and spending for the Resilience
     Program, Violence Prevention Program, and CABs/CATs in accordance with AFI 65-601
     V1, Budget Guidance and Procedures.
     2.1.7.15. Coordinate with the Inspector General on the Resilience Program, Violence
     Prevention Program, and CAB/CAT efforts as appropriate.
     2.1.7.16. Serve as the Office of Primary Responsibility (OPR) for the Air Force Sexual
     Assault Prevention and Response Program.
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   violence prevention. AF/JA also ensures installation military justice data elements required
   for identifying and understanding trends related to a breakdown in discipline are made
   available to CSPMs/CSCs and VPPMs/VPIs.
   2.1.10. Surgeon General (AF/SG) provides oversight for Air Force healthcare policies and
   the physical and mental (e.g., treatment, secondary and tertiary prevention, and monitoring
   aspects) domains of CAF. AF/SG ensures aggregate health information data elements required
   for identifying and understanding trends related to Airmen comprehensive fitness are made
   available to CSPMs/CSCs and VPPMs/VPIs. AF/SG also ensures appropriate functional
   agencies participate on CABs/CATs, provides subject matter expertise, and enters suicide and
   suicide attempts into the DoD Suicide Event Report. Note: For ANG, appropriate personnel
   will be selected by the Wing Commander to support this function.
   2.1.11. Chief of Chaplains (AF/HC) provides oversight for Chaplain Corps policies and
   advises leaders on the spiritual domain of CAF while contributing substantially to the other
   three domains. AF/HC ensures appropriate personnel participate on CABs/CATs and that
   aggregate spiritual health data elements required for identifying and understanding trends
   related to Airmen comprehensive fitness are made available to CSPMs/CSCs and
   VPPMs/VPIs.
   2.1.12. Deputy Chief of Staff, Logistics, Engineering and Force Protection
   (AF/A4) provides oversight for security and law enforcement policies, guidelines, and
   procedures on interpersonal and self-directed violence. AF/A4 ensures appropriate personnel
   participate on CABs/CATs and that aggregate data elements required for identifying and
   understanding trends related to Airmen comprehensive fitness are made available to
   VPPMs/VPIs.
   2.1.13. Chief of Air Force Reserve (AF/RE) implements, resources, and reports on
   programs that support resilience and violence prevention for Air Force Reserve personnel in
   accordance with this publication. This includes ensuring Reserve personnel are appropriately
   trained in programs and activities that support resilience and violence prevention.
   2.1.14. Director, Air National Guard (NGB/CF) implements, resources, and reports on
   programs that support resilience and violence prevention for Air National Guard (ANG)
   personnel in accordance with this publication and appropriate National Guard Bureau policy.
   This includes ensuring ANG personnel are appropriately trained in programs and activities that
   support resilience and violence prevention.
   2.1.15. Headquarters Air Education and Training Command (HQ AETC) develops and
   distributes, in coordination with AF/A1Z, training and materials that support resilience and
   violence prevention for all levels of accession, technical training, and professional military
   education. HQ AETC manages the in-residence Master Resilience Trainer Course based on
   need and available funding.
   2.1.16. United States Air Force Academy (USAFA) develops and distributes, in
   coordination with AF/A1Z, training and materials that support resilience and violence
   prevention to academy personnel, cadets, and other personnel as appropriate.
2.2. MAJCOMs and Organizations Above Wing Level
   2.2.1. MAJCOM Deputy Commanders will:
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     2.2.1.1. Implement programs and activities that support resilience and violence prevention
     and MAJCOM Community Action Board (CAB) and Community Action Team (CAT)
     consistent with this publication. This includes encouraging help-seeking and resilience
     activities, proactively preventing interpersonal and self-directed violence, and reinforcing
     Airmen conduct as directed in AFI 1-1, Air Force Standards. Monitor command climate;
     model healthy and safe relationships; promote a culture of dignity, respect, inclusion and
     connectedness; and foster an environment that promotes help seeking and reduces stigma,
     in accordance with DoDI 6400.09. (T-0).
     2.2.1.2. Ensure Community Support Program Managers (CSPM) and Violence Prevention
     Program Managers (VPPM) (where assigned) have direct access to them. This includes
     ensuring the MAJCOM Resilience Program and Violence Prevention Program (e.g.,
     Suicide Prevention Program) are implemented.
     2.2.1.3. Serve as the MAJCOM CAB Chair. This responsibility will not be delegated any
     further. (T-1). Refer to Chapter 4 for additional guidance. The CAB Chair will:
        2.2.1.3.1. Participate on the Air Force CAB meetings.
        2.2.1.3.2. Chair MAJCOM CAB meetings and direct new initiatives to respond to
        emerging resilience and violence prevention trends and findings.
        2.2.1.3.3. Select the CSPM (or appropriate personnel when a CSPM is not available)
        as the CAB Executive Director and the CAT Chair.
        2.2.1.3.4. Designate the CSPM (or appropriate personnel when a CSPM is not
        available) as the office of record.
        2.2.1.3.5. Invite installation CAB Chairs and a MAJCOM senior spouse to participate
        on MAJCOM CAB meetings.
     2.2.1.4. Serve as the MAJCOM Suicide Analysis Board (SAB) Convening Authority.
     Refer to Chapter 5 for additional guidance.
        2.2.1.4.1. Appoint in writing a SAB Board President and Board Members for each
        MAJCOM SAB conducted. The Board President will be a senior leader from a
        MAJCOM Staff (or equivalent).
        2.2.1.4.2. Ensure participation from the Command Chief and MAJCOM
        representatives from the Judge Advocate, Surgeon General, AFOSI, Chaplain, and
        Civilian Personnel (only for Air Force civilian suicides). Note: For Reservists or
        Guardsmen who die by suicide, the MAJCOM will coordinate with the Air Force
        Reserve Command or ANG.
            2.2.1.4.2.1. To respect the privacy of decedents, the Convening Authority, with
            careful consideration, may appoint Board Members from other MAJCOM
            representatives as appropriate (e.g., Casualty Affairs/Mortuary Affairs, Equal
            Opportunity, Safety, Inspector General, etc.).
            2.2.1.4.2.2. The Convening Authority or Board President may utilize the VPPM
            (if available) to provide logistical and administrative support (e.g., compile the
            aggregate Suicide Analysis Board Report).
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        CAB Executive Director and CAT Chair will not be from the same functional agencies and
        will not dually serve as their functional agency’s CAT representative. ANG will select
        personnel as appropriate. Refer to Chapter 4 for additional guidance.
           2.2.2.6.1. Prepare and distribute agendas and keep minutes for all CAB/CAT meetings.
           2.2.2.6.2. Coordinate forums or other activities that support resilience and violence
           prevention as directed by the Air Force and MAJCOM CABs, and/or AF/A1Z.
           2.2.2.6.3. Promote multiagency collaboration between CAB/CAT members.
           2.2.2.6.4. Ensure continuous focus remains on building and sustaining resilience and
           preventing interpersonal and self-directed violence.
           2.2.2.6.5. Prepare and submit an executive summary to their MAJCOM CAB that
           provides a year-end analysis of issues that were addressed.
        2.2.2.7. Oversee the overall development and implementation of the MAJCOM
        Community Action Plans. Refer to Chapter 4 for additional guidance.
        2.2.2.8. Complete the following training:
           2.2.2.8.1. (Newly assigned) initial training.
           2.2.2.8.2. (Newly assigned) new member CAB/CAT orientation. Refer to Chapter
           4 for additional guidance.
           2.2.2.8.3. Annual refresher training as directed by AFPC/DPFZ.
           2.2.2.8.4. Master Resilience Trainer training.
           2.2.2.8.5. Professional development training as directed by AFPC/DPFZ.
        2.2.2.9. Ensure CSCs implement installation Resilience Programs, training, and
        CABs/CATs.
        2.2.2.10. Provide guidance and support to CSCs on resilience programs and activities,
        CAB/CAT, Community Action Plans (CAP), Community Feedback Tool (CFT), and other
        issues as needed.
        2.2.2.11. Comply with data calls and other requests as directed by the Air Force CAB
        and/or AF/A1Z.
        2.2.2.12. Manage the Resilience Program budget in accordance with AFI 65-601 V1.
     2.2.3. MAJCOM Violence Prevention Program Managers (VPPM) will:
        2.2.3.1. Administer their respective MAJCOM Violence Prevention Program. This
        includes providing functional oversight and guidance to installation Violence Prevention
        Integrators (VPI) on this publication. Note: VPPMs are not AF/A1Z funded positions and
        will only exist when funded by the MAJCOM Deputy Commander. MAJCOM Deputy
        Commanders may assign these duties to CSPMs or other appropriate personnel. Air Force
        Reserve Command (AFRC) functional oversight applies to Reserve Command host
        installations. The AFRC functional will work collaboratively with other MAJCOMs to
        ensure coordinated program guidance is provided to all Air Force Reserve organizations.
        ANG will select appropriate personnel to implement these duties as needed.
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     2.2.3.2. Have direct access to the MAJCOM Deputy Commander and Senior Enlisted
     Advisor.
     2.2.3.3. Serve as the OPR for violence prevention programs and activities and provide
     guidance to senior leadership and to MAJCOM CAB/CAT members on violence
     prevention.
     2.2.3.4. Serve as the OPR for the non-clinical prevention responsibilities of the MAJCOM
     Suicide Prevention Program or Field Command Suicide Prevention Program in
     coordination and collaboration with the Behavioral Health Consultants (or designee),
     CSPM, and other CAT agencies as appropriate. This includes ensuring overall suicide
     prevention program compliance and coordination with the MAJCOM CAB/CAT. Refer to
     Chapter 5 for additional guidance.
        2.2.3.4.1. Confirm with MAJCOM Behavioral Health Consultants (or designee) that
        suicides and suicide attempts are entered into the DoD Suicide Event Report. Note:
        VPPMs will not be authorized to access the DoD Suicide Event Report to enter or
        retrieve suicide or suicide attempt data.
        2.2.3.4.2. Ensure installation VPIs provide support to the Director of Psychological
        Health in obtaining suicide and suicide attempt data from Air Force Office of Special
        Investigations (AFOSI) and Squadron/Unit Commanders (or civilian equivalent) to be
        entered into the DoD Suicide Event Report database. VPIs will only facilitate data
        sharing and communication between the aforementioned entities and will not access or
        review any associated sensitive personally identifiable and confidential information.
        VPIs will not be authorized to access the DoD Suicide Event Report to enter or retrieve
        suicide or suicide attempt data.
        2.2.3.4.3. Serve as the Suicide Prevention Program representative and provide primary
        prevention suicide metrics to the MAJCOM CAB/CAT.
        2.2.3.4.4. Ensure installation VPIs provide program support to the Wing Inspector
        General to accomplish the Suicide Prevention Program inspection.
        2.2.3.4.5. Promote consistent messaging on suicide among CAB/CAT members and
        across the MAJCOM. This includes coordinating and collaborating with Public
        Affairs, Behavioral Health Consultants, and Chaplains.
     2.2.3.5. Ensure compliance with DoD and Air Force standards, policies, guidance, and
     communication on violence prevention.
     2.2.3.6. Collaborate and coordinate with the CSPM on violence prevention programs and
     activities and MAJCOM CAB/CAT initiatives.
     2.2.3.7. Participate on their respective MAJCOM CAB/CAT and other forums addressing
     violence prevention.
     2.2.3.8. Develop and implement the violence prevention components of the MAJCOM
     Community Action Plans in coordination with the CSPM and CAT. Refer to Chapter 4
     for additional guidance.
     2.2.3.9. Complete the following training:
        2.2.3.9.1. (Newly assigned) initial training.
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           2.2.3.9.2. (Newly assigned) new member CAB/CAT orientation. Refer to Chapter
           4 for additional guidance.
           2.2.3.9.3. Annual refresher training as directed by AF/A1Z.
           2.2.3.9.4. Professional development training as directed by AF/A1Z.
        2.2.3.10. Ensure VPIs implement installation Violence Prevention Programs that include
        integrated prevention programs and activities that align with the prevention system, data
        informed actions, applicable components, and command climate assessment results.
           2.2.3.10.1. (Added) Ensure installation VPIs disseminate and provide training in
           accordance with 6400.09 and DoDI 1020.04, Harassment Prevention and Responses
           for DoD Civilian Employees, 30 June 2020.
           2.2.3.10.2. (Added) Ensure installation VPIs disseminate prevention information
           resources in accordance with this instruction, DoDI 6400.09 and DoDI 1020.04.
        2.2.3.11. Provide guidance and support to VPIs on violence prevention, CAB/CAT,
        Community Action Plans (violence prevention component), and other issues as needed.
        2.2.3.12. Comply with data calls and other requests as directed by the Air Force CAB
        and/or AF/A1Z.
        2.2.3.13. Manage the Violence Prevention Program budget in accordance with AFI 65-
        601 V1.
     2.2.4. MAJCOM Behavioral Health Consultants (or Designee) will:
        2.2.4.1. Ensure clinical components of the Suicide Prevention Program are in compliance
        with DoD and Air Force requirements. Refer to DoDI 6490.16, Defense Suicide
        Prevention Program, and AFI 44-172, Mental Health, for additional guidance.
        2.2.4.2. Confirm with VPPMs (where available) that suicides and suicide attempts in their
        respective MAJCOM are entered into the DoD Suicide Event Report.
        2.2.4.3. Ensure installation Directors of Psychological Health (or designee) coordinate
        with AFOSI, Squadron/Unit Commanders (or civilian equivalent), and VPIs to complete
        DoD Suicide Event Report entries for all suicides and suicide attempts. Note: VPIs will
        only facilitate data sharing and communication between the aforementioned entities and
        will not access or review any associated sensitive personally identifiable and confidential
        information. VPIs will not be authorized to access the DoD Suicide Event Report to enter
        or retrieve suicide or suicide attempt data.
2.3. Installation Level
     2.3.1. Installation or Host Wing Commanders (or Equivalent) will:
        2.3.1.1. Recognize leadership involvement in programs and activities that support
        resilience and violence prevention is critical in establishing a culture of prosocial and help-
        seeking behaviors, and intolerant of negative behaviors. (T-1). Monitor command climate;
        model healthy and safe relationships; promote a culture of dignity, respect, inclusion and
        connectedness; and foster an environment that promotes help seeking and reduces stigma,
        in accordance with DoDI 6400.09. (T-0).
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     2.3.1.2. Ensure implementation of a prevention system that is data informed in accordance
     with DoDI 6400.09. (T-0).
     2.3.1.3. Ensure reviews of prevention activities are conducted annually. (T-0). This may
     be done as part of the community action plan.
     2.3.1.4. Designate a military or civilian individual to serve as the integrator of prevention
     activities in accordance with DoDI 6400.09. (T-0).
        2.3.1.4.1. Participate on their respective MAJCOM CAB. (T-1).
        2.3.1.4.2. Chair their respective installation CAB and direct new initiatives to respond
        to emerging resilience and violence prevention trends and findings. (T-1).
        2.3.1.4.3. Select the CSC (or appropriate personnel when a CSC is not available) as
        the CAB Executive Director and the CAT Chair. (T-2).
        2.3.1.4.4. Designate the CSC (or appropriate personnel when a CSC is not available)
        as the office of record. (T-2).
        2.3.1.4.5. Invite a senior spouse to participate on installation CAB meetings. (T-2).
     2.3.1.5. Ensure relevant functional agencies and subject matter experts support and
     collaborate on programs and activities that support resilience and violence prevention. (T-
     1).
     2.3.1.6. Ensure CSCs and VPIs have access to aggregate local data that is non-personally
     identifiable, non-protected health, or other non-confidential information from appropriate
     functional agencies. (T-1). Data will be used to support resilience and prevention strategies
     (e.g., Community Action Plan). (T-1).
     2.3.1.7. Promote a Total Force environment as directed in AFI 1-1 and AFI 1-2,
     Commander’s Responsibilities. (T-1). This includes encouraging and providing access to
     early help-seeking and resilience programs and activities, proactively preventing
     interpersonal and self-directed violence, and reinforcing Airmen conduct.
     2.3.1.8. Ensure all CSCs and VPIs are appropriately resourced and provided office space,
     training and awareness venues, and supplies. (T-2).
     2.3.1.9. Ensure fiscal budgets and financial plans are developed for the Resilience Program
     and Violence Prevention Program. (T-2). Information copies of the financial plans will be
     forwarded to the MAJCOM. (T-2). Note: For ANG, the Wing Commander will make
     procurement decisions. (T-2).
     2.3.1.10. Ensure any required resilience and violence prevention trainings are completed
     by uniformed Airmen and Air Force civilian personnel. (T-0). Training will be tracked by
     Unit Training Managers or Unit Ancillary Training Monitors. (T-1). Refer to Chapter 3
     for additional guidance.
     2.3.1.11. Ensure Master Resilience Trainers, Resilience Training Assistants, and Violence
     Prevention Trainers (including unit spouse volunteers where appropriate)—are appointed
     and trained to meet Air Force requirements and unit needs. (T-2). This may be delegated
     to Squadron Commanders (or equivalent), but no further. (T-2). Refer to Chapter 3 for
     additional guidance.
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        2.3.2.5.1. Prepare and distribute agendas and keep minutes for all CAB/CAT meetings.
        (T-2).
        2.3.2.5.2. Coordinate forums or other activities that support resilience and violence
        prevention as directed by the Air Force, MAJCOM, and installation CABs, and/or
        AF/A1Z. (T-1).
        2.3.2.5.3. Promote multiagency collaboration between CAB/CAT members. (T-1).
        2.3.2.5.4. Ensure continuous focus remains on building and sustaining resilience and
        preventing interpersonal and self-directed violence. (T-1).
        2.3.2.5.5. Prepare and submit an executive summary to their respective MAJCOM
        CAB that provides a year-end analysis of issues that were addressed. (T-2).
     2.3.2.6. Oversee the overall development and implementation of the installation
     Community Action Plans. (T-1). Refer to Chapter 4 for additional guidance.
     2.3.2.7. Collaborate with the Violence Prevention Integrator (VPI) on violence prevention
     and CAB/CAT initiatives. (T-1).
     2.3.2.8. Coordinate and collaborate with functional agencies to improve and integrate
     resilience programs and activities and quality of life concerns. (T-1). This includes
     ensuring effective communication, information sharing, and education and outreach
     activities across the installation by developing and/or harnessing existing tools and
     resources. Note: Awareness raising, while helpful, will not replace or diminish the priority
     of skills building that support resilience and violence prevention. (T-1).
     2.3.2.9. Consult with appropriate functional agencies to develop recommended solutions
     to individual, family, and community resilience, readiness, and other related issues. (T-1).
     2.3.2.10. Complete the following training:
        2.3.2.10.1. (Newly assigned) initial training. (T-1).
        2.3.2.10.2. (Newly assigned) new member CAB/CAT orientation. (T-1). Refer to
        Chapter 4 for additional guidance.
        2.3.2.10.3. Annual refresher training as directed by AFPC/DPFZ. (T-1).
        2.3.2.10.4. Master Resilience Trainer training. (T-1).
        2.3.2.10.5. Professional development training as directed by AFPC/DPFZ and CSPM.
        (T-1).
     2.3.2.11. Manage the Resilience Program budget in accordance with AFI 65-601 V1. (T-
     2).
     2.3.2.12. Ensure Master Resilience Trainers (MRT) and Resilience Training Assistants
     (RTA) are trained and equipped to conduct resilience training as directed by Headquarters
     Air Force, MAJCOM, and/or installation leadership. (T-2). This includes scheduling and
     tracking completed trainings (e.g., First Term Airman Center Resilience Training)
     conducted by MRTs and RTAs. Refer to Chapter 3 for additional guidance. Note: RTAs
     will not conduct resilience training without on-sight supervision from MRTs. (T-1).
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        2.3.2.13. Ensure resilience programs and activities on Joint Base environments are
        conducted in coordination with the Supporting Component. (T-2). This includes ensuring
        Sister Services understand that they must meet requirements that should be reported to their
        Supporting Component for tracking.
        2.3.2.14. Engage military, government, industry, academia, and other stakeholders that
        may be directly or indirectly involved in resilience activities for the Total Force. (T-2).
        This includes participating (where available and appropriate) in community meetings,
        conferences, council meetings, other venues and forums, and through appropriate data
        collection. Note: Ensure that a license request to collect and compile information is
        submitted to obtain a DoD Report Control Symbol and/or an Office of Management and
        Budget Control Number as appropriate and in accordance with Title 44 United States Code,
        Chapter 35, Subchapter I, Sections 3501-3521, Federal Information Policy. (T-0). Refer
        to AFI 33-324, The Air Force Information Collections and Reports Management Program,
        for additional guidance on information collecting and reporting of internal and public
        requirements.
        2.3.2.15. Review aggregate local data (non-personally identifiable, non-protected health,
        or other non-confidential information) to identify resilience and quality of life issues. (T-
        1). This data can help determine which programs and activities best meet the needs of an
        installation.
        2.3.2.16. Ensure suicide prevention (whether as a standalone or integrated violence
        prevention) is incorporated into CAB/CAT initiatives and Community Action Plans as
        appropriate (T-1). Note: For Reserve Command host installations and ANG, the Wing
        commander will ensure suicide prevention is incorporated into CAB/CAT initiatives and
        Community Action Plans. (T-2).
     2.3.3. Installation Violence Prevention Integrators (VPI) will:
        2.3.3.1. Provide program management and serve as subject matter experts for the
        installation Violence Prevention Program. (T-1). This includes implementing a prevention
        system in accordance with DoDI 6400.09 and efforts to integrate and institutionalize
        violence prevention programs and activities across the installation. (T-0). VPIs will serve
        in non-clinical roles when addressing violence prevention. (T-1). ANG will appoint
        appropriate personnel to implement these duties. (T-2).
        2.3.3.2. Have direct access to the installation or host Wing Commander and Senior
        Enlisted Advisor. (T-1).
        2.3.3.3. Serve as the OPR for violence prevention programs and activities. (T-1). This
        includes providing guidance to leadership and Community Action Board (CAB) and
        Community Action Team (CAT) members on violence prevention. Reserve Command host
        installations and ANG will appoint personnel as appropriate. (T-1). This includes
        disseminating information on violence prevention strategies and risk and protective factors.
        Regardless of prior certifications or licensures, VPIs will not serve in the capacity of or be
        dually appointed as SARCs, SAPR VAs, Volunteer Victim Advocates (VVA), or clinical
        practitioners. (T-1).
            2.3.3.3.1. Serve as the OPR for the non-clinical and primary prevention
            responsibilities of the installation Suicide Prevention Program in coordination and
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     2.3.3.10. Ensure violence prevention training for all uniformed Airmen and Air Force
     civilian personnel (appropriated and non-appropriated fund) is conducted and tracked as
     directed by the Air Force CAB and/or AF/A1Z. (T-0). Refer to Chapter 3 for additional
     guidance.
     2.3.3.11. Compile and assess aggregate local data (non-personally identifiable, non-
     protected health, or other non-confidential information) to identify risk and protective
     factors. (T-1). This data can help determine which evidence-based programs and activities
     best meet the needs of an installation. Note: VPIs will not be authorized to attend Case
     Management Group, Central Registry Board, or other venues that share personally
     identifiable, protected health, or other confidential information about individuals seeking
     support services, receiving disciplinary action, or for other circumstances as determined by
     the Air Force CAB and/or AF/A1Z. (T-1). If a Reserve Command host installation or
     ANG assigns any or all VPI duties to an individual who also participates in the Case
     Management Group, Central Registry Board, or other venues that share personally
     identifiable, protected health, or other confidential information as part of their duties (e.g.,
     Director of Psychological Health, SARC, etc.), that individual will only access aggregate
     local data and will not use any personally identifiable, protected health, or other
     confidential information when serving in the capacity of the VPI. (T-1).
     2.3.3.12. Coordinate and collaborate with functional agencies to improve and integrate
     violence prevention programs and activities and quality of life concerns. (T-1). This
     includes ensuring effective communication, information sharing, and education and
     outreach activities across the installation by developing and/or harnessing existing tools
     and resources. This may also include conducting primary prevention research,
     assessments, and evaluations to determine effectiveness of strategies, programs, and
     activities. Note: Awareness raising, while helpful, will not replace or diminish the priority
     of skills building that support resilience and violence prevention. (T-1). This does not
     restrict other functional agencies from engaging in prevention activities, but rather ensures
     there is coordination and collaboration through the CAT.
     2.3.3.13. Consult with appropriate functional agencies to develop recommended solutions
     to individual, family, and community violence prevention and other related issues. (T-1).
     2.3.3.14. Engage military, government, industry, academia, and other stakeholders that
     may be directly or indirectly involved in violence prevention activities for the Total Force.
     (T-2). This includes participating (where available and appropriate) in community
     meetings, conferences, council meetings, other venues and forums, and through
     appropriate data collection. Note: Ensure a license to collect and compile information is
     submitted to obtain a DoD Report Control Symbol and/or an Office of Management and
     Budget Control Number as appropriate and in accordance with Title 44 United States Code,
     Chapter 35, Subchapter I, Sections 3501-3521, Federal Information Policy. (T-0). Refer
     to AFI 33-324 for additional guidance on information collecting and reporting of internal
     and public requirements.
  2.3.4. Installation Director of Psychological Health (or Appointed Designee) will:
     2.3.4.1. Be responsible for all clinical aspects of suicide prevention to include advising
     leaders on managing Airmen in distress, adhering to clinical practice guidelines for
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        suicidality, and entering all Air Force suicides and suicide attempts at their installation into
        the DoD Suicide Event Report. (T-0).
        2.3.4.2. Be appointed by the Medical Treatment Facility Commander and Air Reserve
        Component Medical Unit Commander to manage and enter cases into the DoD Suicide
        Event Report central database. (T-0). Note: Refer to AFI 44-172 for additional guidance.
        2.3.4.3. Coordinate with Air Force Office of Special Investigations (AFOSI),
        Squadron/Unit Commanders (or civilian equivalent), and Violence Prevention Integrators
        (VPI) to complete DoD Suicide Event Report entries for all suicides and suicide attempts.
        (T-0). Note: VPIs will only facilitate data sharing and communication between the
        aforementioned entities and will not access or review any associated sensitive personally
        identifiable and confidential information. (T-0). VPIs will not be authorized to access the
        DoD Suicide Event Report to enter or retrieve suicide or suicide attempt data. (T-0).
        2.3.4.4. Coordinate with the VPI to ensure the Wing Inspector General has program
        support as necessary to conduct inspections for the Suicide Prevention Program as
        appropriate. (T-1). Note: ANG will coordinate with the installation VPI and provide any
        required data and information. (T-2).
     2.3.5. Air Force Office of Special Investigations (AFOSI) Detachment Commander must
     ensure all necessary data about a suicide or suicide attempt is provided to the Director of
     Psychological Health (or appointed designee) to complete the DoD Suicide Event Report entry
     within the required timeframes. (T-0). Note: Although AFOSI does not investigate suicide
     attempts, any data obtained about an attempt must be provided for the DoD Suicide Event
     Report. (T-0). Criminal investigations maintain primacy to DoD Suicide Event Report
     completion.
     2.3.6. Medical Treatment Facility Commander and Air Reserve Component Medical
     Unit Commander will:
        2.3.6.1. Serve as OPR for all clinical aspects of suicide prevention to include
        implementing clinical guidelines for managing suicidal patients and other requirements in
        AFI 44-172. (T-0).
        2.3.6.2. Ensure that a DoD Suicide Event Report entry is completed for all suicides and
        suicide attempts. (T-0).
        2.3.6.3. Appoint in writing the Director of Psychological Health (or appointed designee)
        to manage and enter cases into the DoD Suicide Event Report central database. (T-0). This
        includes coordinating with the Violence Prevention Integrator (VPI) on DoD Suicide Event
        Report data entry compliance. Note: For ANG, the Community Action Board (CAB)
        Executive Director will appoint in writing the appropriate personnel to manage DoD
        Suicide Event Report entries and coordinate with the installation Director of Psychological
        Health (or appointed designee) on DoD Suicide Event Report data entry compliance. (T-
        2).
     2.3.7. Leaders and Supervisors will:
        2.3.7.1. Recognize that their involvement in programs and activities that support resilience
        and violence prevention is critical. (T-1).
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     2.3.7.2. Promote a culture of prosocial, healthy, and adaptive behaviors that encourages
     early help-seeking. (T-0). This includes not tolerating negative actions (e.g., hazing,
     belittling, humiliating, retaliation, etc.) that prevent Airmen from help-seeking or
     professional care.
     2.3.7.3. Reinforce the Air Force Core Values and conduct as directed in AFI 1-1 and AFI
     1-2. (T-1). This includes ensuring Airmen understand how resilience and interpersonal
     and self-directed violence impact their well-being and performance, unit morale, and
     ultimately Air Force readiness.
     2.3.7.4. Ensure any required resilience and violence prevention trainings are completed by
     uniformed Airmen and Air Force civilian personnel within their sphere of influence. (T-
     0). Refer to Chapter 3 for additional guidance.
     2.3.7.5. Complete any required resilience and violence prevention training as described in
     this publication. (T-0).
     2.3.7.6. Learn signs of distress, and effective ways to discuss issues with subordinates. (T-
     0). This includes knowing where to refer Airmen for help.
     2.3.7.7. Engage installation Community Action Team (CAT) agencies to assist in
     improving programs and activities that support resilience and violence prevention within
     the unit as appropriate. (T-1).
     2.3.7.8. Squadron/Unit Commanders (or civilian equivalent) will provide all necessary
     data about a suicide or suicide attempt in their unit to the Director of Psychological Health
     (or appointed designee) to complete a DoD Suicide Event Report entry within the required
     timeframes. (T-0). Note: For ANG, the assigned personnel will complete DoD Suicide
     Event Report entries with the required timeframes. (T-0). Refer to Chapter 5 for
     additional guidance.
  2.3.8. Airmen will:
     2.3.8.1. Recognize that their involvement in programs and activities that support resilience
     and violence prevention is critical. (T-0).
     2.3.8.2. Contribute to a culture of prosocial, healthy, and adaptive behaviors that
     encourages early help-seeking. (T-0).
     2.3.8.3. Comply with and promote the Air Force Core Values and conduct as directed in
     AFI 1-1 and AFI 1-2. (T-1).
     2.3.8.4. Engage as an active bystander by identifying signs and symptoms of Airmen in
     distress and promoting help-seeking in distressed peers using acquired skills. (T-0).
     2.3.8.5. Complete any required resilience and violence prevention training. (T-0).
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                                             Chapter 3

                                            TRAINING

3.1. Training Overview. The Air Force will provide Airmen with knowledge, skills, and tools
that support resilience and violence prevention. This helps build foundational life skills that will
allow them to thrive personally and professionally. Moreover, this institutionalizes an
environment that inspires courage and confidence to confront attitudes and behaviors that erode
the Air Force Core Values. Note: In certain circumstances, contractors may be required to
complete training in accordance with contract provisions or other stipulated requirements.
     3.1.1. Training will incorporate Congressional, DoD, and Air Force training requirements and
     core competencies in accordance with DoDI 6400.09. (T-0). Note: Suicide prevention training
     requirements will be met as a standalone or as part of an integrated violence prevention training
     as determined by APFC/DPFZ.
     3.1.2. Training will incorporate evidence-based programs and activities and adult learning
     theory principles that are appropriate to an Airman’s grade and commensurate with their rank
     and level of responsibility. (T-1). This continuum of learning, aligned with Airmen career
     progression, will gradually increase their level of knowledge and provide necessary skills that
     support resilience and violence prevention.
3.2. Training Tracking.
     3.2.1. Commanders (or equivalent) and supervisors at all levels will ensure all uniformed
     Airmen and Air Force civilian personnel complete any required resilience and violence
     prevention training. (T-0). Training will be tracked by Unit Training Managers (UTM) or Unit
     Ancillary Training Monitors (UATM). (T-1). Note: For ANG, this is a coordinated
     responsibility between the Base Education and Training Manager and UTM.
        3.2.1.1. Total Force personnel assigned to installations as tenant units will provide proof
        of training to their host UTM or Unit Ancillary Training Monitor. (T-1). Note: Air Reserve
        Command tenant organizations will provide proof of training and any requested training
        metrics to their host organization. (T-2).
     3.2.2. UTMs or UATMs will document, track, and report resilience and violence prevention
     training in the My Learning system or as determined by the Air Force Community Action
     Board (CAB) and/or AF/A1Z. (T-1). This includes providing resilience and violence
     prevention training completion statistics upon request from the installation CAB, Community
     Support Coordinator (CSC), and Violence Prevention Integrator (VPI), or ANG designee.
     3.2.3. CSCs and VPIs (or ANG designee) will ensure UTMs and/or UATMs are provided the
     necessary information to track training. (T-1).
     3.2.4. CSCs and VPIs will track and report their completion of initial training, annual refresher
     training, and other professional development training as determined by AFPC/DPFZ. (T-1).
3.3. Total Force Training Requirements.
     3.3.1. Annual Training. To meet Congressional, DoD, and Air Force requirements, uniformed
     Airmen and Air Force civilian personnel (appropriated and non-appropriated funded) will
     complete annual resilience and violence prevention training as determined by AFPC/DPFZ in
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   accordance with DoDI 6400.09. (T-0). Annual training will not be implemented for deployed
   personnel while in the Area of Responsibility. (T-1). Note: While not required and if feasible,
   foundational and annual training is recommended for Air Force family members, DoD
   contractors, and local national employees.
   3.3.2. First Term Airman Center Training. Uniformed Airmen at their first duty station will
   complete in-person resilience and violence prevention training as required and in accordance
   with AFI 36-2670, Total Force Development. (T-1). Note: This is not applicable to Reserve
   and ANG.
   3.3.3. Resilience Training. Resilience training will be completed as directed by Headquarters
   Air Force, AFPC/DPFZ, MAJCOM, Field Command, and/or installation leadership. (T-1).
   Leaders are encouraged to coordinate with CSCs to determine local issues and needs to tailor
   training or Wingman activities.
      3.3.3.1. All resilience trainings conducted by Master Resilience Trainers (MRT) and
      Resilience Training Assistants (RTA) will use AFPC/DPFZ approved curriculum. (T-1).
      3.3.3.2. Spouse volunteers trained as RTAs will only conduct resilience training for spouse
      and family groups using AF/A1Z approved curriculum. (T-1).
   3.3.4. Leadership Training. Resilience and violence prevention training (where appropriate)
   will be included at all levels of Professional Military Education, commander courses,
   Executive Group development, senior spouse orientations, and other venues as directed by the
   Air Force CAB and/or AFPC/DPFZ in accordance with DoDI 6400.09. (T-0). This will include
   developing interpersonal and leadership skills required to fulfill their responsibilities relative
   to violence prevention (e.g., suicide prevention), resilience, and total fitness of Airmen in
   accordance with DoDI 6400.09. (T-0).
   3.3.5. Accessions Training. Resilience and violence prevention training (where appropriate)
   will be included at all accessions sources for new uniformed Airmen as directed by the Air
   Force CAB and/or AFPC/DPFZ and AF/A1Z in accordance with DoDI 6400.09. (T-0).
3.4. Resilience and Violence Prevention Personnel and Support Personnel Training
Requirements.
   3.4.1. Community Support Coordinator (CSC) and Violence Prevention Integrator (VPI)
   Training. CSCs and VPIs will complete initial training to ensure baseline resilience and/or
   violence prevention knowledge. (T-1). CSCs and VPIs will also complete annual training and
   other professional development as directed by AFPC/DPFZ to maintain proficiency and be
   current with national or local evidence-based programs and activities impacting their scope of
   work. (T-1). With the exception of new member CAB/CAT orientation, trainings will be
   facilitated by AFPC/DPFZ AF/A1Z unless otherwise directed. (T-1). Training may be
   conducted through in-person sessions, webinars, telephone conferences, computer based
   training, or other appropriate forums as determined by AFPC/DPFZ. ANG will utilize Air
   Force training as needed and/or determine equivalent training as appropriate. (T-2).
   3.4.2. Resilience Trainers. MRTs and RTAs (or equivalent) will successfully meet eligibility
   and training criteria in order to conduct resilience training. (T-1). MRTs and RTAs (or
   equivalent) will comply with responsibilities aligned with these roles as determined by
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     AF/A1Z in coordination with AFPC/DPFZ. (T-1). Note: MRTs and RTAs roles are additional
     duty. MRTs and RTAs are optional for ANG.
     3.4.3. Violence Prevention Trainers. Violence Prevention Trainers will successfully meet
     eligibility and training criteria in order to conduct violence prevention training. (T-1). Violence
     Prevention Trainers (or equivalent) will comply with responsibilities aligned with this role as
     determined by AFPC/DPFZ. (T-1). Note: Violence Prevention Trainer roles are an additional
     duty. ANG will utilize Air Force training as needed and/or determine equivalent training as
     appropriate. (T-2).
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        4.3.2.2. Promote collaboration amongst helping agencies, identify gaps in programs and
        activities, eliminate ineffective redundancies, and improve programs and activities that
        support resilience and violence prevention. (T-1).
        4.3.2.3. Ensure CAT members develop, collect, and share pertinent data from their
        respective functional community to analyze for trends and implications. (T-1). This
        includes regularly sharing metrics for planning, programs and activities that support
        resilience and violence prevention.
        4.3.2.4. Ensure CAT members bring all programs and activities that support resilience and
        violence prevention for integration and alignment with evidence-based practices, policies,
        programs, and processes. (T-1). This ensures all efforts are a part of a comprehensive and
        coordinated plan.
        4.3.2.5. Review the Air Force Community Feedback Tool survey results and other quality
        of life, resilience, and violence prevention related aggregate data (e.g., Installation Equal
        Opportunity Assessment Summaries) to develop, propose, and implement evidence-based
        programs and activities. (T-0).
        4.3.2.6. Utilize a variety of methods and tools (e.g., focus groups, surveys, town meetings,
        interviews, forums, member agency trend analyses or other collected data, etc.) to develop
        and implement integrated solutions that cannot be resolved by individual CAT agencies.
        (T-2).
        4.3.2.7. Identify, collect, and track risk and protective factors to help select programs and
        activities that support resilience and violence prevention that may increase protective
        factors and reduce or eliminate interpersonal and self-directed violence. (T-1).
        4.3.2.8. Identify positive and negative data trends, assess institutional risk, and propose
        solutions for these issues to the CAB for review and approval. (T-1).
        4.3.2.9. Develop and implement a biennial (every two years) CAP using an AF/A1Z
        approved product or tool. (T-1).
        4.3.2.10. Track and analyze trends related to helping agency counseling workload (e.g.,
        types of service sought) and topics of client concerns. (T-2). This may help determine
        programs and activities that support resilience and violence prevention that may be needed.
        4.3.2.11. Document and up-channel meeting activities, monitor forum participation, share
        promising practices, and monitor training of CAB/CAT members. (T-2).
        4.3.2.12. The Air Force CAT will establish standardized key indicator metrics to monitor,
        evaluate, and report measurable information on Air Force-wide protective factor behaviors,
        risk behaviors, and counseling services data being utilized at helping agencies. (T-1).
        4.3.2.13. The Air Force CAT will verify that installations use the Air Force Community
        Feedback Tool survey and monitor the use of additional community and command
        consultation assessment tools. (T-1).
     4.3.3. The Air Force CAT will ensure the biennial (every two years) implementation of a needs
     assessment in accordance with DoDI 1342.22. (T-0). Wherever possible, the assessment will
     be conducted with a random representative sample of community members. (T-2).
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     4.3.3.1. Leadership at all levels will ensure needs assessments are completed at their
     respective levels in accordance with DoDI 1342.22. (T-0).
     4.3.3.2. Community Support Coordinators (CSC) or ANG designees will ensure a needs
     assessment survey is publicized at the installation to ensure Total Force voluntary
     completion. (T-2).
     4.3.3.3. DELETED.
  4.3.4. Community Action Plan (CAP). CAPs are comprehensive, integrated, and coordinated
  plans to address resilience and violence prevention issues impacting the Air Force at their
  respective levels and are key components to the AF prevention system that identifies and
  implements prevention activities and discontinues any prevention activities that are not data
  informed. These plans address results from the needs assessments and other data collection
  approaches described throughout this publication. CAPs inform improvements, planning and
  resourcing in accordance with DoDI 6400.09. Note: The installation’s violence prevention
  priorities are captured in the CAP, which satisfies the requirement for a violence prevention
  plan at all levels.
     4.3.4.1. CAPs must be submitted for approval at least biennially (every two years) by the
     CAT to their respective CAB at all levels of the Air Force. (T-1).
     4.3.4.2. CAPs must be approved within six months of the official release of the CFT
     results. (T-2).
     4.3.4.3. CATs will develop and implement CAPs using an AF/A1Z approved product or
     tool. (T-1). This also allows each level of the Air Force to tailor programs and activities
     that support resilience and violence prevention to fit their own needs.
     4.3.4.4. CSCs or ANG designees will oversee the overall CAP development and
     implementation. (T-1).
     4.3.4.5. Violence Prevention Integrators (VPI) will collaboratively develop and implement
     the CAP violence prevention components. (T-1).
     4.3.4.6. CATs will report CAP implementation progress at their respective CAB meetings.
     (T-2).
  4.3.5. Promising Practices. CABs/CATs will look for opportunities to up-channel to higher
  headquarters potential promising evidence-based and evidence-informed practices, policies,
  programs, and processes that support resilience and violence prevention. (T-2).
     4.3.5.1. Air Force and MAJCOM CABs/CATs will share with their installation
     CABs/CATs promising evidence-based programs and activities that support resilience and
     violence prevention submitted to them by installations. (T-2).
     4.3.5.2. CAB/CAT meeting minutes will document when promising evidence-based
     programs and activities that support resilience and violence prevention are identified,
     recommended, or shared at the respective meetings. (T-1).
     4.3.5.3. Any recommendations that cannot be approved or disapproved because of lack of
     sufficient authority or resources will be referred to the next level CAB/CAT for review.
     (T-2).
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Frequency: Ideally monthly, but no less than 10 per year; ARC installation at least semiannually
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                                             Chapter 5

                              SUICIDE PREVENTION PROGRAM

5.1. Requirement. This chapter implements and supplements elements of DoDI 6490.16,
Defense Suicide Prevention Program. Refer to DoDI 6490.16 to ensure full compliance of suicide
prevention requirements. Refer to AFI 44-172, Mental Health, for Air Force information on
clinical aspects of suicide prevention.
5.2. Purpose. The Air Force Suicide Prevention Program is a commander’s program. The
Violence Prevention Integrator (VPI) is the OPR for the non-clinical and primary prevention
responsibilities and will collaborate with the Community Support Coordinator (CSC), Mental
Health professionals, and other Community Action Team (CAT) agencies in cultivating a fit and
ready force by reducing suicide and suicide attempts.
5.3. General Requirements.
     5.3.1. Managing Personnel in Distress. Air Force personnel will take rapid action to ensure
     care of Airmen who are a danger to themselves or others. (T-0).
     5.3.2. Uniformed Airmen Under Investigation. Unformed Airmen under investigation, in
     combination with other factors, may be at risk for suicide. Commanders and First Sergeants
     will use the Unit Commander/First Sergeant Checklist for Airmen Under Investigation or
     Involved in the Military/Civilian Criminal Justice/Legal Systems when notified that a
     uniformed Airman is under investigation under the Uniform Code of Military Justice or a
     civilian justice system. (T-1). This can assist with mitigating risk of suicide, suicide attempt,
     or other forms of harm. This checklist will be made available via AF/A1Z through official
     channels.
        5.3.2.1. Commanders and First Sergeants will initiate the checklist after the uniformed
        Airman has been informed of the investigation. (T-1). The checklist will be activated when
        the uniformed Airman is informed of a Commander Directed Investigation. (T-1).
        5.3.2.2. Commanders and First Sergeants are encouraged to utilize the checklist for
        uniformed Airmen who may benefit due to current, recent, or anticipated investigations or
        any legal issues. (T-3).
        5.3.2.3. VPIs will provide Commanders and First Sergeants awareness of and access to
        the Unit Commander/First Sergeant Checklist for Airmen Under Investigation or Involved
        in Military/Civilian Criminal Justice/Legal Systems. (T-1). This checklist will be made
        available via AF/A1Z through official channels.
     5.3.3. Access to Lethal Means. Recognizing the relationship between effective suicide
     prevention and ready access to lethal means, leaders at all levels will comply with DoD
     requirements (e.g. gun locks, safe storage, danger to self or others procedures). (T-0).
     5.3.4. Memorial Ceremonies and Services. Commanders (or equivalent) are encouraged to
     conduct unit memorial ceremonies and services when an Airman dies by suicide. (T-3).
     Commanders should avoid idealizing or eulogizing the act or method of suicide as any public
     communication after a suicide could possibly increase or decrease the suicide risk of those
     receiving the communications. (T-3).
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  5.3.5. Suicide Analysis Boards (SAB). SABs bring together Air Force leaders (military and
  civilian) and subject matter experts to review suicide deaths and identify circumstances,
  contributing factors, and leadership actions to improve prevention and postvention policies and
  procedures. SABs provide an opportunity to identify potential gaps, raise lessons learned, and
  make recommendations. SABs are non-punitive and do not seek to assign individual fault or
  blame. Note: AF/A1Z will provide guidance to ensure uniform implementation of Suicide
  Analysis Boards at the MAJCOM and Field Command levels. (T-1).
     5.3.5.1. SABs will be conducted at least annually and as directed by the Air Force
     Community Action Board (CAB) and/or AF/A1Z. (T-0).
     5.3.5.2. The MAJCOM Deputy Commander will serve as the Convening Authority and
     appoint in writing a Board President and Board Members for each SAB conducted. (T-1).
     The Board President will be a senior leader from a MAJCOM Staff (or equivalent). (T-1).
     5.3.5.3. SABs will include participation from the Command Chief and MAJCOM
     representatives from the Judge Advocate, Surgeon General, Office of Special
     Investigations, Chaplain, and Civilian Personnel (only for Air Force civilian suicides). (T-
     1). Note: For Reservists or Guardsmen who die by suicide, the MAJCOM will coordinate
     with the Air Force Reserve Command or ANG.
     5.3.5.4. SABs will review Total Force suicide deaths with a completed and closed
     investigation within their respective MAJCOM. (T-0). SABs will only review Air Force
     civilian personnel suicides cases only after receiving written permission from the
     decedent’s personal representative. (T-0). Review of available Air Force civilian personnel
     medical and/or mental health records requires authorization from the decedent’s personal
     representative, utilizing the DoD Form 2870, Authorization for Disclosure of Medical or
     Dental Information. (T-0). SABs will comply with Health Insurance Portability and
     Accountability Act regulations with respect to obtaining the appropriate authorizations
     from a decedent’s personal representative and ensure it properly accounts for all Protected
     Health Information disclosures. (T-0).
     5.3.5.5. Protected Health Information of uniformed decedents is made available to the
     SAB for the sole purpose of suicide death reviews as an activity necessary to the proper
     execution of the mission of the Armed Forces pursuant to Department of Defense 6025.18-
     R, DoD Health Information Privacy Regulation. (T-0). Information will be limited to the
     minimum necessary to accomplish the purpose of the disclosure. (T-0). Note: The medical
     Board Member, or other designated Surgeon General representative, will be the primary
     individual responsible for reviewing all available medical and mental health records to help
     distill and summarize pertinent information for the Suicide Analysis Board. (T-1). Non-
     medical Board Members may have access to relevant decedent medical information as
     allowable under the law or as specified in authorizations signed by the decedent's personal
     representative. (T-0).
     5.3.5.6. SAB members will not release nor disclose information received, discussed, or
     produced by the SAB without the prior consent of the Convening Authority. (T-0).
     5.3.5.7. SAB members will only receive information relevant and necessary to conduct the
     suicide case reviews to protect the privacy of the decedent and the decedent’s surviving
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        family members to the greatest extent possible while looking to prevent future suicides.
        (T-0).
        5.3.5.8. SABs will submit a SAB Report to AF/A1Z by the end of each calendar year. (T-
        1).
        5.3.5.9. SABs will utilize standardized processes, procedures, templates, and reporting
        requirements developed and provided by AF/A1Z. (T-1). This includes using the required
        SAB Report template.
     5.3.6. Air Force Suicide and Suicide Attempt Statistics. The Office of the Armed Forces
     Medical Examiner will provide AF/A1Z summary statistics for Air Force suicide rates, attempt
     rates, and associated risk and protective factors. (T-0). These statistics will be made available
     to MAJCOMs and installations, when appropriate, as resources for training, awareness, and
     other prevention efforts. (T-1).
     5.3.7. Suicide Prevention Training Metrics. MAJCOM CABs will provide annual
     aggregate suicide prevention training completion metrics (whether as a standalone or as an
     integrated violence prevention training) to AF/A1Z as directed by the Air Force CAB and/or
     AF/A1Z. (T-1). Note: ANG will determine how to track and report annual training
     completion.
     5.3.8. Inspection. The Inspector General will conduct inspections of the Suicide Prevention
     Program. (T-1). VPPMs (where available) and VPIs will provide program support to the
     MAJCOM and Wing Inspector General to accomplish inspections and will coordinate with
     Behavioral Health Consultants (or designee), Directors of Psychological Health (or designee),
     and AFOSI on inspections as appropriate. (T-1). Refer to AFI 90-201 for additional guidance
     on inspections.
     5.3.9. Self-Assessment. Commanders (or equivalent) at all levels will ensure appropriate
     internal mechanisms exist to track compliance of requirements as described in this publication
     (e.g., Air Force Suicide Prevention Program 11 Elements). (T-1). Refer to AFI 90-201 for
     additional guidance on self-assessments. AF/A1Z may periodically utilize a Self-Assessment
     Communicator to gain timely visibility on the Suicide Prevention Program status, compliance,
     and risk. Compliance with a Self-Assessment Communicator does not relieve MAJCOMs,
     installations, or Airmen from complying with all statutory and regulatory requirements in Air
     Force policies or other directives at the local, state, or federal level.
5.4. Air Force Suicide Prevention Program 11 Elements. The Air Force Suicide Prevention
Program 11 Elements were developed, based on a public health approach, to assist leaders at all
levels to effectively implement the Suicide Prevention Program. The 11 Elements include:
     5.4.1. Leadership Involvement. Air Force military and civilian leaders will build
     environments that promote healthy and adaptive behaviors, foster the Wingman culture, and
     encourage responsible and early help-seeking. (T-0). Leaders will ensure adequate resourcing,
     effective policy and program implementation, and frequent communication and messaging to
     encourage leadership engagement at all levels. (T-0).
     5.4.2. Professional Military Education (PME). PME will develop leaders with
     interpersonal and leadership skills relative to suicide prevention (whether as a standalone or as
     part of integrated violence prevention). (T-0). Leaders will understand what policies and
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  practices promote or discourage help-seeking and resilience. (T-0). Leaders will develop skills
  to detect at-risk individuals and intervene early with Airmen under stress. (T-0).
  5.4.3. Guidelines for Commanders: Use of Mental Health Services. Commanders (or
  civilian equivalent) are encouraged to partner and consult with Mental Health about uniformed
  Airmen to improve duty performance. If a commander finds it necessary to order a member
  to the Military Treatment Facility for a mental health evaluation, then the commander must do
  so in accordance with DoDI 6490.04, Mental Health Evaluations of Members of the Military
  Services, AFI 44-172, AFI 44-121, Alcohol and Drug Abuse Prevention and Treatment
  (ADAPT) Program, and AFI 40-301, Family Advocacy Program. (T-0). Commanders must
  be aware of the legal implications to uniformed Airmen of the different types of referrals and
  consult with the Staff Judge Advocate or designated legal advisor as needed. (T-1). Note: Air
  Reserve Component commanders will be familiar with available mental health options. (T-2).
  5.4.4. Unit-Based Preventive Services. Helping agency professionals will partner with unit
  leaders to provide services at the worksite to increase access, encourage help-seeking, and
  promote familiarity, rapport, and trust with uniformed Airmen and their families. (T-2). These
  services also improve unit cohesion and effectiveness.
  5.4.5. Wingman Concept. Wingmen will practice healthy behaviors, make responsible
  choices, and encourage others to do the same. (T-1). Wingmen will foster a culture of early
  help-seeking and recognize the signs and symptoms of distress in themselves and others and
  take protective action. (T-0).
  5.4.6. Investigative Interview Policy (Hand-Off Policy). Uniformed Airmen facing
  criminal or administrative action, in combination with other factors, may be at risk for suicide.
  Following any subject interview, Air Force investigators must hand-off that uniformed Airman
  directly to their Commander or First Sergeant through person-to-person documented contact
  and inform them of any perceived risk of suicide in accordance with investigative policies. (T-
  1). Note: For Air Reserve Component, when the Commander or First Sergeant is a traditional
  Guardsman or Reservist and unable to be contacted, the senior ranking unit member (E-7 or
  higher) on active status will receive person-to-person contact and in turn make notifications to
  the First Sergeant and Commander. (T-1). The investigator will notify the unit representative
  that the individual was interviewed and is under investigation. (T-1).
     5.4.6.1. The Commander or First Sergeant will inquire about the uniformed Airman’s
     emotional state and contact Mental Health to discuss a possible Commander Directed
     Evaluation and possible placement in the Limited Privilege Suicide Prevention Program if
     risk of suicide is suspected. (T-1).
     5.4.6.2. The Commander or First Sergeant will advise the uniformed Airman facing
     criminal or administrative action of other available resources (e.g., Chaplain, Military and
     Family Life Counseling, etc.) that can provide stress management, crisis intervention, and
     other appropriate services. (T-0).
  5.4.7. Post-Suicide Response (Postvention). Suicide impacts units, coworkers, families, and
  friends and offering support is critical to individual and unit resilience. Unit leaders will
  manage post-suicide responses by implementing the Air Force Leader’s Post-Suicide and
  Suicide Attempt Checklists (T-0). This includes supporting affected personnel through the
  grieving process by consulting with Chaplains, Mental Health, and Directors of Psychological
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     Health as needed. Violence Prevention Integrators (VPI) will provide Commanders and First
     Sergeants awareness of and access to the Air Force Leader’s Post-Suicide and Suicide Attempt
     Checklists. (T-0).
     5.4.8. Community Action Boards and Community Action Teams. VPIs will coordinate
     with Community Action Boards (CAB) and Community Action Teams (CAT) to help
     integrate, coordinate, and track suicide prevention programs and activities (whether as a
     standalone or as part of integrated violence prevention) to ensure initiatives are targeted,
     effective, and reduce suicide as well as other risks of interpersonal violence. (T-1). Refer to
     Chapter 4 for additional guidance.
     5.4.9. Limited Privilege Suicide Prevention Program. The Limited Privilege Suicide
     Prevention Program provides uniformed Airmen increased legal protections and
     confidentiality with respect to the information revealed during or generated by their clinical
     relationship with Mental Health. Refer to AFI 44-172 for guidance on program eligibility and
     processes.
     5.4.10. Commander Consultation Tools. Commanders (or civilian equivalent) will utilize
     climate assessment tools (e.g., Installation Equal Opportunity Assessment Summaries, Air
     Force Combined Mishap Reduction System, etc.) to identify strengths and challenges within
     their organizations to implement strategies to enhance Airmen well-being and resilience. (T-
     1). Commanders are encouraged to consult with Community Support Coordinators (CSC),
     VPIs, and CAT members to help select tools, interpret results, and develop action plans for
     their units.
     5.4.11. Suicide Event Tracking: DoD Suicide Event Report. Commanders (or civilian
     equivalent) will ensure all Air Force suicides and suicide attempts for required groups are
     entered into DoD Suicide Event Report central database within the established timeframes. (T-
     0). Data entry will be completed by the Director of Psychological Health (or designee) in
     coordination with AFOSI and affected unit Commander. (T-0). Note: For ANG, DoD Suicide
     Event Report entries are completed by the appropriate assigned personnel.




                                              BRIAN T. KELLY
                                              Lieutenant General, USAF
                                              Deputy Chief of Staff of the Air Force, Manpower,
                                              Personnel and Services
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                                        Attachment 1
         GLOSSARY OF REFERENCES AND SUPPORTING INFORMATION

References
Title 5 United States Code 552a, Records Maintained on Individuals, The Privacy Act of 1974
Title 10 United States Code 136, Under Secretary of Defense for Personnel and Readiness
Title 10 United States Code 8013, Secretary of the Air Force
Title 10 United States Code 9013, Secretary of the Air Force
Title 42 United States Code, Chapter 21, Sections 1981 – 2000h-6, Civil Rights
Title 44 United States Code, Chapter 35, Subchapter I, Sections 3501-3521, Federal Information
Policy
(Added) DoDI 1020.04, Harassment Prevention and Responses for DoD Civilian Employees,
30 June 2020
DoDI 1342.22, Military Family Readiness, 3 July 2012
(Added) DoDI 6400.09, DoD Policy on Integrated Primary Prevention of Self-Directed Harm
and Prohibited Abuse, 11 September 2020
Department of Defense Instruction 6490.04, Mental Health Evaluations of Members of the
Military Services, 4 March 2013
Department of Defense Instruction 6490.16, Defense Suicide Prevention Program, 6 November
2017
(Added) DoDM 6025.18, Implementation of the Health Insurance Portability and
Accountability Act (HIPAA) Privacy Rule in DoD Health Care Programs, 13 Mar 2019
Chairman of the Joint Chiefs of Staff Instruction 3405.01, Chairman’s Total Force Fitness
Framework, 1 September 2011, Current as of 23 September 2013
Air Force Vice Chief of Staff Memorandum, Implementation of Commander/First Sergeant
Checklist for Airmen Under Investigation, 22 March 2017
Air Force Policy Directive 90-50, Integrated Resilience, 17 September 2018
Headquarters Air Force Mission Directive 1-20, The Inspector General, 5 January 2021
Headquarters Air Force Mission Directive 1-28, Director of Public Affairs, 1 February 2021
Air Force Instruction 1-1, Air Force Standards, 7 August 2012
Air Force Instruction 1-2, Commander’s Responsibilities, 8 May 2014
(Added) Air Force Instruction 33-322, Records Management and Information Governance
Program, 23 March 2020
Air Force Instruction 33-324, The Air Force Information Collections and Reports Management
Program, 22 July 2019
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Department of the Air Force Instruction 33-360, Publications and Forms Management, 1
December 2015
(Added) Air Force Instruction 36-2670, Total Force Development, 25 June 2020
Department of the Air Force Instruction 40-301, Family Advocacy Program, 13 November 2020
Air Force Instruction 44-121, Alcohol and Drug Abuse Prevention and Treatment (ADAPT)
Program, 18 July 2018
Air Force Instruction 44-172, Mental Health, 13 November 2015
Air Force Instruction 65-601, Volume 1, Budget Guidance and Procedures, 24 October 2018
Air Force Instruction 90-201, The Air Force Inspection System, 20 November 2018
Air Force Follow-On Review 100930-060, Protecting the Force: Lessons from Fort Hood, 30
September 2010

Prescribed Forms
None

Adopted Forms
Air Force Form 847, Recommendation for Change of Publication
Department of Defense Form 2996, Department of Defense Suicide Event Report
Department of Defense Form 2870, Authorization for Disclosure of Medical or Dental
Information

Abbreviations and Acronyms
ADLS—Advanced Distributed Learning Service
AFI—Air Force Instruction
AFMAN—Air Force Manual
AFPD—Air Force Policy Directive
CAB—Community Action Board
CAF—Comprehensive Airman Fitness
CAP—Community Action Plan
CAT—Community Action Team
CFT—Community Feedback Tool
CSC—Community Support Coordinator
CSPM—Community Support Program Manager
DoD—Department of Defense
DoDD—Department of Defense Directive
DoDI—Department of Defense Instruction
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DoDSER—Department of Defense Suicide Event Report
DPH—Director of Psychological Health
MAJCOM—Major Command
MRT—Master Resilience Trainer
OPR—Office of Primary Responsibility
PME—Professional Military Education
RTA—Resilience Training Assistant
SAB—Suicide Analysis Board
SAPR VA—Sexual Assault Prevention and Response Victim Advocate
SARC—Sexual Assault Response Coordinator
UATM—Unit Ancillary Training Monitor
UTM—Unit Training Manager
VPI—Violence Prevention Integrator
VPPM—Violence Prevention Program Manager

Terms
Airman—Collectively refers to uniformed members of the United States Air Force, Department
of the Air Force civilians, and members of the Civil Air Patrol when conducting missions for the
Air Force as the official Air Force Auxiliary, unless otherwise stated.
Air Reserve Component (ARC)—The Air National Guard and the Air Force Reserve while in
the service of the United States.
At-Risk—Individuals displaying risk factors that potentially place them at some risk for
interpersonal and/or self-directed violence.
Bullying—An act of aggression by a military member or members, or DoD civilian employee or
employees, with a nexus to military service or DoD civilian employment, with the intent of
harming a military member, DoD civilian, or any other persons, either physically or
psychologically, without a proper military or other governmental purpose. Bullying may involve
the singling out of an individual from his or her co-workers, or unit, for ridicule because he or she
is considered different or weak. It often involves an imbalance of power between the aggressor
and the victim.
Case Management Group—A multi-disciplinary group that meets monthly to review individual
cases of sexual assault, chaired by the installation or host wing commander. This group facilitates
monthly victim updates and directs system coordination, accountability, and victim access to
quality services.
Central Registry Board—The Central Registry Board makes administrative determinations for
suspected domestic abuse and child maltreatment meeting DoD and Air Force definitions,
determinations which require entry into the Air Force Central Registry database. These decisions
are known as Incident Status Determinations.
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Child Abuse—The physical or sexual abuse, emotional abuse, or neglect of a child by a parent,
guardian, foster parent, or by a caregiver, whether the caregiver is intrafamilial or extrafamilial,
under circumstances indicating the child’s welfare is harmed or threatened. Such acts by a sibling,
other family member, or other person shall be deemed to be child abuse only when the individual
is providing care under express or implied agreement with the parent, guardian, or foster parent.
Commander—An officer who occupies a position of command authorized by appointment or by
assumption of command.
Community—Military and civilian personnel assigned to an Air Force installation or
organization, their families, attached Reserve and Guard units, and retirees who utilize base
services.
Community Action Board (CAB) —Senior leader-led decision forums (at Headquarters Air
Force, MAJCOM, and installation level) that facilitate resilience and violence prevention (primary
prevention) policy, practices, and programs.
Community Action Team (CAT)—Functions as the action arm of the Community Action Board
to develop and implement resilience and violence prevention (primary prevention) policy,
practices, and programs approved by the Community Action Board and that meet each
community’s unique needs.
Community Feedback Tool (CFT)—A biennial Air Force-wide community assessment tool that
identifies community strengths and needs, trends key indicators of community health and well-
being, identifies gaps, and assesses effectiveness of programs and activities. The Air Force
Community Action Team ensures the execution of this assessment and disseminates results to all
MAJCOMs and installations.
Community Support Coordinator (CSC)—Provides program management and serves as the
subject matter expert for the Resilience Program. Community Support Coordinators also serve as
the Community Action Board Executive Director and as the Community Action Team Chair.
Comprehensive Airman Fitness (CAF)—A holistic approach to fitness that includes fitness in
the mental, physical, social, and spiritual domains. In practical application, Comprehensive
Airman Fitness provides an integrated framework that encompasses and integrates many cross
functional education and training efforts, activities, and programs that contribute to mental,
physical, social, and spiritual fitness.
Dating Violence—Physical, sexual, psychological, or emotional violence within a dating
relationship, including stalking. It is a forum of intimate partner violence.
Department of Defense Suicide Event Report (DoDSER) —A report that characterizes Service
member suicide data through a coordinated, web-based data collection system maintained by
Defense Centers of Excellence for Psychological Health and Traumatic Brain Injury.
Domain—A sphere of knowledge, influence, or activity.
Domestic Abuse—Domestic violence or a pattern of behavior resulting in emotional or
psychological abuse, economic control, and/or interference with personal liberty that is directed
toward a person who is: 1. A current or former spouse, 2. A person with whom the abuser shares
a child in common, or 3. A current or former intimate partner with whom the abuser shares or has
shared a common domicile.
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Domestic Violence—An offense under the United States Code, the Uniform Code of Military
Justice, or State law involving the use, attempted use, or threatened use of force or violence against
a person, or a violation of a lawful order issued for the protection of a person who is: 1. A current
or former spouse, 2. A person with whom the abuser shares a child in common, or 3. A current or
former intimate partner with whom the abuser shares or has shared a common domicile.
Evidence-Based—A conclusion based on rigorous research that has demonstrated effectiveness
in achieving the outcomes that it is designed to achieve.
Evidence-Informed—Activities derived from prevention research, such as empirically supported
theories, risk and protective factors, as well as established principles of prevention, and community
and contextual factors. Evidence-informed activities have not yet been evaluated for effectiveness.
Family Advocacy Program—A DoD program designated to address child abuse and domestic
abuse in military families and child maltreatment in Department of Defense-sanctioned activities
in cooperation with civilian social service agencies and military and civilian law enforcement
agencies. Prevention, advocacy, and intervention services are provided to individuals who are
eligible for treatment in military medical treatment facilities.
Family Violence—Any form of abuse, mistreatment or neglect that a child or adult experiences
from a family member, or from someone with whom they have an intimate relationship. For the
purpose of this publication, intimate partner and domestic violence and child maltreatment and
abuse are collectively referred to as family violence.
Fitness—The relationship between one's behaviors and attitudes and their positive or negative
health outcomes that results in a state of complete mental, physical, social, and spiritual well-being
and not merely the absence of disease or infirmity.
(Added) Harassment—Behavior that is unwelcome or offensive to a reasonable person, whether
oral, written, or physical, that creates an intimidating, hostile, or offensive environment.
Hazing—Any conduct through which a military member or members, or a DoD civilian employee
or employees, without proper military or other governmental purpose but with a nexus to military
service or DoD civilian employment, physically or psychologically injure or create a risk of
physical or psychological injury to one or more military members, DoD civilians, or any other
persons for the purpose of: initiation into, admission into, affiliation with, change in status or
position within, or as a condition for continued membership in any military or DoD civilian
organization.
Headquarters Air Force—The Headquarters Air Force is comprised of both Secretariat and Air
Staff Offices.
Healthcare Personnel—Individuals who provides direct healthcare services to military health
system beneficiaries in military medical treatment facilities.
Healthcare Provider/Personnel—Individuals who provides direct healthcare services to military
health system beneficiaries in military medical treatment facilities.
Helping Agencies—Includes, but is not limited to, Mental Health, Chaplains, Family Support,
Family Advocacy, Law Enforcement, Legal, Health Promotion, Substance Abuse, Drug Demand
Reduction, Equal Opportunity, Youth Programs, and Senior Enlisted Advisor personnel.
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Helping Professionals/Agencies—Includes, but is not limited to, Mental Health, Chaplains,
Family Support, Family Advocacy, Law Enforcement, Legal, Health Promotion, Substance Abuse,
Drug Demand Reduction, Equal Opportunity, Youth Programs, and Senior Enlisted Advisor
personnel.
Interpersonal Violence—Intentional use of physical force or power, threatened or actual, against
a person or group that results in or has a high likelihood of resulting in injury, death, psychological
harm, maldevelopment, or deprivation. This includes sexual assault, dating violence, family
violence (e.g., intimate partner and domestic violence, child maltreatment and abuse), and
workplace violence (e.g., workplace harassment, sexual harassment, hazing, and bullying). For
the purpose of this publication, intimate partner and domestic violence and child maltreatment and
abuse are collectively referred to as family violence. Workplace harassment, sexual harassment,
hazing, and bullying are collectively referred to as workplace violence.
Interpersonal violence does not include any violence that is connected to requirements within the
context of the profession of arms.

Intimate Partner Violence—Physical violence, sexual violence, stalking, and/or psychological
aggression (including coercive acts) by a current or former intimate partner. An intimate partner
is a person with whom one has a close personal relationship that can be characterized by the
following: emotional connectedness, regular contact, ongoing physical contact and/or sexual
behavior, identity as a couple, or familiarity and knowledge about each other’s lives.
Leadership—For the purpose of this instruction, leadership refers to all personnel in leadership
or supervisory positions or who are responsible for services to improve the welfare and/or
development of others. This would include, but not be limited to, Commanders, First Sergeants,
and supervisory members in the rank of Staff Sergeant or GS-7 and above.
Limited Privilege Suicide Prevention Program—Air Force members enrolled in the Limited
Privilege Suicide Prevention program are granted limited protection with regard to information
revealed in, or generated by their clinical relationship with mental health providers in accordance
with Air Force Instruction 44-172, Mental Health.
Maltreatment—A general term encompassing child abuse or neglect and partner abuse or spouse
neglect.
Master Resilience Trainer (MRT)—An individual trained to deliver resilience training.
Mental Fitness (Domain)—The ability to effectively cope with unique mental stressors and
challenges.
Non-Clinical—Generally means not diagnosing, prescribing, counseling, treating, providing
direct patient care of any type, or using clinical tools and practices to assess a person’s mental or
physical health that is otherwise reserved for licensed or certified medical and social work
personnel.
Personally Identifiable Information—Information which would disclose or have a tendency to
disclose the person’s identity. Identifying personal information includes the person’s name or a
particularly identifying description (i.e., physical characteristics or identity by position, rank, or
organization), or other information about the person or the facts and circumstances involved that
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could reasonably be understood to identify the person (e.g., a female in a particular squadron or
barracks when there is only one female assigned).
Physical Fitness (Domain)—The ability to adopt and sustain healthy behaviors needed to enhance
health and well-being.
Postvention—Response activities that should be undertaken in the immediate aftermath of a
suicide that has impacted the unit. Postvention has two purposes: to help suicide attempt survivors
cope with their grief and to prevent additional suicides. It also may provide an opportunity to
disseminate accurate information about suicide, encourage help-seeking behavior, and provide
messages of resilience, hope, and healing. Also known as “tertiary prevention.”
Prevention—1. Primary Prevention aims to prevent violence before it ever occurs. Primary
prevention efforts focus on reducing risk factors and strengthening protective factors. 2.
Secondary Prevention provides early detection and prompt intervention to provide short-term
solutions for survivors and consequences for abusers. The goal is to minimize the short-term
consequences of violence and prevent further occurrences. 3. Tertiary Prevention aims to reduce
further complications of an existing problem by providing on-going support to victims and on-
going accountability to abusers. The goal is to provide treatment, support and rehabilitation to
address the long-term consequences of violence.
Prosocial Behavior—Voluntary actions that are intended to help or benefit another individual or
group of individuals.
Protective Factor—Conditions or attributes (i.e., skills, resources, support systems, or coping
strategies) that allow individuals, families, and/or communities deal more effectively with and/or
reduce the likelihood of personal violence. Protective factors enhance resilience and may serve to
counterbalance or mitigate risk factors. Protective factors may be personal (e.g., attitudes, values,
and norms prohibiting suicide) or external or environmental (e.g., strong relationships, particularly
with family members).
Public Health Approach—A prevention approach that impacts groups or populations of people
versus treatment of individuals. Public health focuses on preventing personal violence before it
ever occurs (primary prevention), and addresses a broad range of risk and protective factors. The
public health approach values multi-disciplinary collaboration, which brings together many
different perspectives and experience to enrich and strengthen the solutions for the many diverse
communities.
Reserve Components—Reserve Components of the Armed Forces of the United States are the
Army National Guard, Army Reserve, Naval Reserve, Marine Corps Reserve, Air National Guard,
Air Force Reserve, and Coast Guard Reserve.
Resilience—The ability to withstand, recover, and grow in the face of stressors and changing
demands.
Resilience Program—Led by Community Support Coordinators, equips Airmen with the
knowledge, skills, and tools required to continually assess and adjust to their environment. The
program empowers Airmen to maintain the necessary balance of cognitive skill, physical
endurance, emotional stamina, social connectedness, and spiritual well-being to thrive and carry
out the Air Force mission.
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Resilience Training Assistant (RTA)—Individuals trained to assist installation Master
Resilience Trainers in delivering unit resilience training.
Responders—Includes first responders, who are generally composed of personnel in the following
disciplines or positions: Sexual Assault Response Coordinators, Sexual Assault Prevention and
Response Victim Advocates, healthcare personnel, law enforcement, and Military Criminal
Investigative Organizations. Other responders include Judge Advocates, Chaplains, and
Commanders, but are usually not first responders.
Retaliation—1. The taking or threatening to take an adverse personnel action, or withholding or
threatening to withhold a favorable personnel action, with respect to a military member because
the member reported a criminal offense or; 2. Ostracizing a military member, to include excluding
from social acceptance, privilege or friendship with the intent to discourage reporting of a criminal
offense or otherwise discourage the due administration of justice or; 3. Maltreating a military
member, to include treatment by peers or by other persons, that, when viewed objectively under
all the circumstances, is abusive or otherwise unnecessary for any unlawful purpose, that is done
with the intent to discourage reporting of a criminal offense or otherwise discourage the due
administration of justice, and that results in physical or mental harm or suffering, or reasonably
could have caused physical or mental harm or suffering.
Risk Factor—Conditions or attributes (e.g., relationship difficulties, substance abuse, legal,
financial, medical, mental health, and occupational problems) that make it more likely individuals
will develop a disorder or pre-dispose one to high-risk personal violence. Risk factors may
encompass biological, psychological, or social factors in the individual, family, and environment.
Self-Directed Violence—Behavior that is self-directed and deliberately results in injury or the
potential for injury to oneself. This includes acts of fatal and nonfatal suicidal behavior, and non-
suicidal self-injury.
Sexual Assault—Intentional sexual contact, characterized by use of force, threats, intimidation or
abuse of authority or when the victim does not or cannot consent. The term includes a broad
category of sexual offenses consisting of the following specific Uniform Code of Military Justice
offenses: rape, sexual assault, aggravated sexual contact, abusive sexual contact, forcible sodomy
(forced oral or anal sex), or attempts to commit these acts.
Sexual Assault Prevention and Response Victim Advocate (SAPR VA)—A person who, as a
victim advocate, provides non-clinical crisis intervention, referral, and ongoing non-clinical
support to adult sexual assault victims. Support will include providing information on available
options and resources to victims. The Sexual Assault Prevention and Response Victim Advocate,
on behalf of the sexual assault victim, provides liaison assistance with other organizations and
agencies on victim care matters and reports directly to the Sexual Assault Response Coordinator
when performing victim advocacy duties.
Sexual Assault Response Coordinator (SARC)—The single point of contact at an installation
or within a geographic area who oversees sexual assault awareness, prevention, and response
training; coordinates medical treatment, including emergency care for sexual assault victims, and
tracks the services provided to a victim of sexual assault from the initial report through final
disposition and resolution.
Sexual Harassment—Harassment on the basis of sex is a violation of Title 42 United States Code,
Chapter 21, Sections 1981 – 2000h-6. Unwelcome sexual advances, requests for sexual favors,
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and other verbal or physical conduct of a sexual nature constitute sexual harassment when (1)
submission to such conduct is made either explicitly or implicitly a term or condition of an
individual's employment, (2) submission to or rejection of such conduct by an individual is used
as the basis for employment decisions affecting such individual, or (3) such conduct has the
purpose or effect of unreasonably interfering with an individual's work performance or creating an
intimidating, hostile, or offensive working environment.
Social Fitness (Domain) —The ability to engage in healthy social networks that promote overall
well-being and optimal performance.
Spiritual Fitness (Domain)—The ability to adhere to beliefs, principles, or values needed to
persevere and prevail in accomplishing missions.
Stakeholder—An individual or organization involved in, has a vested interest in, or is affected by
the outcome of actions and decisions.
Strength-Based—An approach that emphasizes on an individual’s and/or community’s positive
qualities, skills, and resources to resolve problems and encourage health promoting interactions.
Suicide—Death caused by self-directed injurious behavior with an intent to die as a result of the
behavior.
Suicide Attempt—Any nonfatal, self-directed, potentially injurious behavior accompanied by
evidence of intent to die which as a result of the behavior, results in medical care/treatment
(including mental health care) or evacuation from the Area of Responsibility. A suicide attempt
may or may not result in injury.
Suicide Prevention and Risk Reduction Committee—The Suicide Prevention and Risk
Reduction Committee provides a forum for the Departments of Defense and Veterans Affairs to
partner, collaborate and coordinate suicide prevention and risk reduction efforts. Members include
suicide prevention program managers from each of the services and representatives from the
National Guard Bureau, Reserve Affairs, Veterans Affairs, Office of Armed Forces Medical
Examiner, National Center for Telehealth and Technology, Substance Abuse, and Mental Health
Services Administration and others.
Total Force—Air Force uniformed members (Regular Air Force, Reserve, Air National Guard,
other Military Services) and their families, and Air Force civilian personnel (appropriated and non-
appropriated funded).
Violence—For the purpose of this instruction, violence refers to all actions, by individuals or
groups of individuals, which bring damage to body, mind, or spirit of any Total Force member.
Violence Prevention Integrator (VPI)—Provides program management, subject matter
expertise, and consultation for violence prevention (primary prevention) programs and activities
at the MAJCOM (when applicable) and installation level, and participates on the Community
Action Board and Community Action Team.
Violence Prevention Program—Led by Violence Prevention Integrators, focuses on the primary
prevention of interpersonal and self-directed violence—stopping it before it occurs. The program
collaboratively identifies, implements, and assesses public health-informed and evidence-based
prevention policy, practices, and programs to eliminate interpersonal and self-directed violence,
optimize Airmen well-being and performance, and sustain and enhance a ready Total Force.
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Violence Prevention Trainer—An individual trained and qualified to provide violence
prevention (primary prevention) training.
Well-Being—A state of being characterized by a sense of purpose and hope, positive emotions
and moods (e.g., contentment, happiness), the absence of negative emotions (e.g., depression,
anxiety), general life satisfaction, fulfillment, and positive functioning.
Wingman—A term used to describe one individual looking out for another, anticipating
difficulties and responding to maintain the welfare of a fellow Wingman. The Wingman's role is
to add an element of mutual support that aids situational awareness and decision making,
increasing the ability to successfully prevent or resolve difficulties.
Wingman Concept—A culture of Airmen taking care of Airmen whether in uniform or not.
Workplace Violence—Any act of violent behavior, threats of physical violence, harassment,
intimidation, bullying, verbal or non-verbal threat, or other threatening, disruptive behavior that
occurs at or outside the work site. For the purpose of this publication, workplace harassment,
sexual harassment, hazing, and bullying are collectively referred to as workplace violence and can
be oral, visual, written, physical, and electronic and can occur over social media in accordance
with DoDI 1020.04.
